                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA AT JUNEAU

  MICHAEL P. NICHOLLS,
           Plaintiff,

           vs.

  WHITE PASS & YUKON U.S., INC.,
  PACIFIC AND ARCTIC RAILWAY                     Case No. 1:18-cv-00001 HRH
  AND NAVIGATION COMPANY d/b/a
  WHITE PASS & YUKON ROUTE,
  AND WHITE PASS ENTERPRISES                      COMPLAINT FOR PERSONAL
  LLC,                                            INJURY

                        Defendants.

      Now comes the Plaintiff in the above-entitled matter and for his complaint states:

                                      I.     JURISDICTION

      1.         This is a claim for personal injuries sustained by a passenger on the White

Pass & Yukon Route Railway on May 30, 2017 near Skagway, Alaska. As outlined

further below, Plaintiff is a citizen of the United Kingdom and Defendants are resident

corporate entities of the United States. Damages are claimed herein in excess of $75,000,

the jurisdictional minimum limits of this court. Jurisdiction is therefore proper before this

Court pursuant to 28 U.S.C. § 1332(a)(2) (alienage jurisdiction). Venue is proper in this

Court pursuant to 28 U.S.C. § 1391 as Defendants reside in the District of Alaska for venue

purposes and the events at issue occurred within the District of Alaska, with the nearest

proximity to the U.S. District Court for the District of Alaska at Juneau. The U.S. District

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Court for the District of Alaska has diversity and subject matter jurisdiction over the

parties.

                                     II.   THE PARTIES

      2.      At all times relevant, Plaintiff Michael Nicholls (hereinafter NICHOLLS)

was a British citizen. He was and remains a resident of Birmingham, United Kingdom of

Great Britain and Northern Ireland. He was a passenger on the White Pass and Yukon

Route Railway on May 30, 2017.

      3.      At all times relevant, Defendant White Pass & Yukon U.S. Inc.

(collectively hereinafter “WPYR”) was and remains an Alaska domestic corporation

doing business in Skagway, Alaska, within the judicial district, and with a registered

agent located in Anchorage, Alaska.

      4.      At all times relevant, Defendant Pacific and Arctic Railway and Navigation

Company (collectively hereinafter “WPYR”) was and remains an Alaska domestic

corporation doing business as White Pass & Yukon Route in Skagway, Alaska, within

the judicial district, and with a registered agent located in Anchorage, Alaska.

      5.      At all times relevant, Defendant White Pass Enterprises LLC (collectively

hereinafter “WPYR”) was and remains an Alaska limited liability company wholly

owned by White Pass & Yukon U.S. Inc., doing business in Skagway, Alaska and with a

registered agent located in Anchorage, Alaska.




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                         III.        FACTUAL BACKGROUND

      6.       On or about May 30, 2017, NICHOLLS was a passenger on the cruise ship

M/V Neuw Amsterdam on the Inside Passage in Southeast Alaska when it arrived in

Skagway, Alaska.

      7.       NICHOLLS and his wife purchased tickets for an excursion on the White

Pass and Yukon Route Railway, a narrow gauge rail line that operates between Skagway

and points in the Yukon Territory of Canada. The railroad is operated by Defendants

WPYR.

      8.       WPYR advertises its railway excursions to the general public and markets

such excursions to tourists, offering rail passage to members of the public and directs

marketing attention to cruise ship passengers. WPYR offers a choice of excursions.

NICHOLLS and his wife selected a railway excursion from among the available options.

      9.        NICHOLLS boarded the WPYR train consisting of about 20 railcars at

Skagway, Alaska.

      10.      On information and belief, WPYR railcars are open at each end and have a

vestibule at the ends of the cars. The vestibules are open for the use of passengers to

view the scenery, take photographs, and to transit between cars.

      11.      Approximately ten miles from Skagway, NICHOLLS was standing in the

vestibule at the end of car, speaking with the conductor and a brakeman when the train




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suddenly lurched and propelled him backward out of the vestibule, which was secured

with a chain.

      12.       The chain broke when NICHOLLS, propelled by the sudden and

unexpected movement of the train, fell into it and out of the railcar. NICHOLLS was

forcefully ejected from the train and fell approximately 6-10 feet to the ground, rolling

through bushes.

      13.       NICHOLLS suffered a back injury and deep lacerations on his back and his

left leg, chipped vertebra, and multiple contusions as a result of breaking through the

chain and being thrown forcefully to the ground from a moving rail car.

      14.       NICHOLLS was treated on the train by the ship’s doctor, and was returned

to Skagway to be taken to the local clinic. He was assessed at the Skagway medical

clinic and his treating providers determined that he required medical evacuation to

Bartlett Regional Hospital in Juneau, Alaska.

      15.       In Juneau, his injuries were assessed and it was determined he required

surgery. He was taken into surgery shortly after midnight for his injuries.

      16.       After his surgery, he suffered complications including infection, and

required a protracted recovery.

      17.       NICHOLLS was forced to remain in the hospital for the remainder of his

holiday, and for an extended period of time was confined to Juneau in either Bartlett

Regional Hospital or in outpatient hospital care.


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      18.      NICHOLLS returned to his home in the UK to continue his recovery, and

continued to suffer complications, including infection, pain, difficulty with back pain,

and reduced mobility due to his injuries.

      19.      As a direct and proximate result of the negligence of defendants,

NICHOLLS suffered permanent personal injuries, scarring and disfigurement to his

person, and continues to suffer from pain, emotional anguish, and physical limitations

from the incident and the injuries resulting from it.

      20.      As   a   direct   and   proximate   result   of   defendants’   and/or   their

employees/agents’ gross negligence, NICHOLLS has suffered permanent personal

injuries, scarring and disfigurement to his person, and continues to suffer from pain,

physical limitations, and emotional anguish from the incident and the injuries resulting

from it.

                                 IV.      CAUSES OF ACTION

      21.      Defendants’ acts and omissions constitute negligence, in that Defendants

(acting by their employees/agents) failed to exercise ordinary care, and the duty of

ordinary care proximately caused personal injuries to NICHOLLS and the resulting legal

damages to NICHOLLS and his family.

      22.      Defendants’ agents or servants, as well as Defendants, by wrongful acts,

neglect, omissions, carelessness, unskillfulness, or default, also caused injuries and the

resulting legal damages to NICHOLLS and his family.


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      23.      The White Pass and Yukon Route Railway (and collectively WPYR) is a

common carrier. As a common carrier, Defendants, and each of them, owe a duty of

utmost care and the vigilance of a very cautious person toward its passengers. A

common carrier is responsible for any, even the slightest negligence, and is required to

do all that human care, vigilance, and foresight reasonably can do under all the

circumstances.

      24.      WPYR breached its duty toward its passenger NICHOLLS when it

operated in an unsafe manner by suddenly changing its speed and/or motion, causing a

lurch in the train that foreseeably resulted in the type of injury sustained by NICHOLLS.

      25.      WPYR breached its duty toward its passenger NICHOLLS when it failed to

adequately secure its railcars in such a manner as to prevent passengers such as

NICHOLLS from falling from the train.

      26.      WPYR breached its duty toward its passenger NICHOLLS when it failed to

provide adequate safety equipment and safeguards to prevent passengers from falling out

of the moving train.

      27.      Defendants’ acts and omissions (acting by its employees/agents) constitute

gross negligence, as defined under applicable Alaska law.

      28.      As a direct and proximate result and/or legal cause of Defendants’

negligence, and each of them, NICHOLLS, as set forth above, has suffered permanent

personal injuries, scarring and disfigurement to his person, and continues to suffer from


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pain and emotional anguish from the incident and the injuries resulting from it. He

continues to require medical care for his injuries.

      29.      As a direct and proximate result and/or legal cause of Defendants’ gross

negligence, and each of them, NICHOLLS, as set forth above, has suffered permanent

personal injuries, scarring and disfigurement to his person, and continues to suffer from

pain and emotional anguish from the incident and the injuries resulting from it. He

continues to require medical care for his injuries.



      WHEREFORE, PLAINTIFF NICHOLLS prays for the following relief:

      1.       For a judgment awarding him damages in excess of the minimum

jurisdictional limits of the United States District Court, for pain, suffering, anguish, and

other damages arising from his permanent and ongoing injuries sustained, scarring, and

permanent disability and disfigurement resulting from his injuries, and for the need for

ongoing medical care;

      2.       For a judgment awarding him damages for the cost and value of his

vacation to Alaska, the value of which was destroyed by the injuries he sustained on

Defendants’ railroad as a result of Defendant’s negligence;

      3.       For the cost, if any, of medical care provided to NICHOLLS, whether paid

by him or subject to a subrogation claim by a third party payor;

      4.       For attorney’s fees and all costs arising from this action; and


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      5.      For any and all other relief, including punitive damages to the extent

permitted by law, deemed appropriate by the court.

      A trial by jury is demanded in this matter.

      DATED: Sunday, February 11, 2018, at Anchorage, Alaska.



                                          Respectfully Submitted,

                                          /s/ Heather Gardner
                                          _________________________
                                          Heather Gardner # 0111079
                                          645 G Street, Suite 100-754
                                          Anchorage, AK 99501
                                          T: (907) 375-8776
                                          F: 1 (888) 526-6608
                                          E: hgardnerlaw@gmail.com




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